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                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS


Eugene K. Mallard. Plaintiff

                                                        Case No.    5:22-cv-04053-EFM-KGG
V.




Laura     Howard,         Secretary
KDADS, et al.,
               Defendants.




                             DECLARATION OF EUGENE MALLARD


       I, Eugene Mallard, being of lawful age, make the following affidavit pursuant to 28 U.S.C.
§ 1746, relating to the captioned matter, based upon my personal knowledge and information
made known to me through documentation.
       1.       I am the Plaintiff in the case before this Court.
       2.       I was committed as a sexually violent predator under the Kansas Sexually Violent
Predator Act, on or about the year 2009.


                                            Membership
       3.       I have been a member of the Native American callout since 2010.
       4.       Currently, I am a member of the Red Wolf Native American callout.
       5.       In the past I was a member of the Red Wolf Native American callout and at one
point a member of the Independent Native American callout.
       6.       I have never been a member of the Grey Wolf callout.
       7.      The Independents is a group comprised of members from the Red Wolf and Gray
Wolf callout, that were banned or left for some reason.


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        8.         The Independent callout was started by an individual that was not a member of
either the Red Wolf or Gray Wolf that wanted to practice on his own. This is where the
Independent Native American callout began.


                                                 Smudge
        9.         I hold the sincere belief that a daily smudge is necessary in order to purify myself
and stay connected with Grandfather. Without this daily practice I feel lost and without my
spiritual being.


                                            Sweat Ceremony
        10.        It is my sincerely held belief that the sweat ceremony should be held no less than
once per week. This ceremony is akin to returning to the womb of mother earth so that one is
purified, gains strength, guidance, physical, emotional, mental, and spiritual healing. The
Christian equivalent is attending church once per week.
        11.        I sincerely am willing to accept a once per month sweat ceremony for facility
reasons, if done in the appropriate manner.
        12.        The appropriate manner for a sweat ceremony is that it is to begin at sunup and
last until sundown, for the facility 8:00 AM to 4:00 PM. Afterwards the tribe gathers inside and
have a feast.
        13.        In my first few years in the program the sweat ceremony was once per month on
a Sunday, that began at 8:00 AM and went until about 4:00 PM. This went on until the facility
eradicated the ceremony.
       14.         Upon allowing the sweat ceremony only recently the facility limited it to four hours
and a half hour for cleanup.
       15.         The current four hour period causes the ceremony to be rushed and not a vital
component of my beliefs and practice. The reason rushing is improper is:
                   a. In order for the rocks to heat to temperature in the fire takes about 1 to 1 ½
                      hours. This is dependent on the outside air temperature. Failure to heat the
                      rocks to the right temperature, denies them the ability to provide the steam
                      necessary for a proper sweat.
                   b. It takes 15-20 minutes in the lodge, once the rocks are heated, to complete
                      one round.


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                c. After the round, one needs about forty-five minutes, for health, safety and
                     prayer, to recover and prepare for the next round.
                d. There is a minimum of four rounds that must be completed.
                e. Rushing the Sweat to be completed in four hours means the rocks are not
                     ready and the health and safety of the person is compromised.
                f.   That is why the traditional method is sunup to sundown.
                g. In the past we compromised and went from 0800 to 1600 hours, a total of
                     eight hours once per month.
        16.     The facility at this time denies a feast after the sweat ceremony, instead they
provide a sack lunch that consists of: 1 Peanutbutter and jelly sandwich, 1 bag of chips, 1 apple
or orange, 1 carton of milk and 1 package of Oreo cookies.
        17.     A traditional feast after a sweat ceremony is to consist of traditional Native
American food. This would include: Wild Game (dependent upon season or area), grape
dumplings, roasted corn, and fry bread.


                                            Feasts/Meals
        18.     The facility does allow for four meals per year, but these meals are not
appropriate to the religion, nor is it seasonally appropriate.
       19.      Attached as Atatchment A is a true and correct copy of the form the facility
informs me has to be used to order a religious meal. The form itself shows it is not appropriate
to the Native American Religion and as it is static it is not seasonal.
       20.      There are not changes to the form based on the season and the fruits,
vegetables, grains and other items that would be appropriate for that season.
       21.      In my religion a feast is a celebration of a special event and does not replace a
Sweat Ceremony, Pipe and Drum Ceremony, or any other ceremony or smudge. It is against
my sincerely held belief to have to forego one event to have a feast or meal.
       22.     When the Native American callout was allowed to prepare their food no one ever
got sick from the food.
       23.     When the Native American callout was allowed to prepare their food no staff
member checked the temperature of the food.
       24.     When the Native American callout was allowed to prepare their food it was
served hot, above temperature.


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        25.     Currently the food delivered for a religious meal is delivered cold and out of
temperature range. No one checks the temperature or utilizes any other measure to ensure it is
safe.


                        General Disregard for Food Safety by the Facility
        26.     The facility currently delivers three meals per day to me on the unit. Upon receipt
of the tray the food is cold and outside the safe temperature for such food.
        27.     When I raise the complaint to staff that the food is cold I am told there is a
microwave, heat it up for there is nothing else that can be done.
        28.     On September 16, 2023, the microwave quit working. It was not replaced until,
after numerous complaints, September 20, 2023. A total of four days I was forced to eat food
that was out of temperature range with no recourse.
        29.     On September 17, 2023, my meal was delivered in a Styrofoam tray. When the
facility uses Styrofoam trays the following occurs:
                a. All food (hot and cold) is put inside the same tray.
                b. The cold food becomes heated to the point it is in the food danger zone and
                   the hot food is reduced in temperature to where it is in the food danger zone.
                c. Even though I have complained it is ignored. I have witnessed and heard
                   others complain all to no avail.
        30.     The food is consistently overcooked to the point there is no nutritional value.
When I complain they state there is nothing that can be done.
        31.     On September 24, 2023, the microwave on the unit I reside again went out and
was not replaced until 9/25/23.


                                      Presence of Chaplain
        32.     During our religious gatherings the Chaplain is rarely if ever present. On
September 22, 2023, our most recent scheduled time for a meal the chaplain was not present
nor did he supervise.


                                             Mod Yard
        33.     The Mod Yard is a separate fenced area next to the religious grounds.
        34.    The Mod Yard is surrounded by the same chain link fence as the religious callout
grounds.

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        35.     The Mod Yard has no wall, but on one side there are three separate buildings.
        36.     In the middle of the yard is a fire hydrant, that to my knowledge is fully
operational and within 300 feet of the religious callout area.


Careless Fire
        37.     The only time a careless fire or out of control fire occurred on the religious
grounds occurred at the hands of the facility. The facts are:
                a. The facility decided to install a new fence, to create a double fence around
                   the callout grounds.
                b. The company was using a torch or something similar and set the grass on fire
                   during the install. It burned all the way to the parking lot before it was put
                   under control.
       38.      At no time in all the years that I have been a member of the Native American
Callout has there been a careless fire or one that got out of control.
       39.      In order to prevent any careless fire each Native American callout has an
assigned/appointed person known as a fire keeper, usually no less than two persons. This
person's sole responsibility is to start, maintain and ensure the fire does not go out of control.
These individuals have been carefully selected and are aware of what to do.


                                             Policies
       40.      There is no policy for religious call outs that has been drafted or created by the
Sexual Predator Treatment Program.
       41.      All current policies enforcing what I may or may not do as a part of my religion
was created by Larned State Hospital and its Superintendent.
       42.      Secretary for the Kansas Department on Aging and Disability Services, Laura
Howard, has never drafted or promulgated a policy concerning my religious pri:)ctice.


                                              Facility
       43.      The only part of the Sexual Predator Treatment Program that shares space is the
part located in the Isaac Ray building.
       44.      The Dillon building and Jung building house and contain no one outside of the
Kansa Sexual Predator Treatment Program.


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        45.        Residents in the SPTP are not allowed access to the theater on the grounds of
LSH as it is outside the perimeter fence.


                                               Pandemic
        46.        At no time do I believe that my religious rights should override an epidemic that
can cause death or effect a mass amount of people.
        47.        I do sincerely believe that once the cause for a pandemic subsides all previous
activities should be restored to their fullest capacity.


                                         Security Risk Status
        48.        I was on Security Risk Status from 2022 to 2023.
        49.        For part of the time while on Security Risk Status I was not allowed access to the
religious grounds, and then the procedure changed and I was allowed access to the religious
grounds for the remainder of my Security Risk Status.
        50.        Residents who are on Security Risk Status are allowed on the religious grounds
during call out.
        Executed on October 5 ~. 2023




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                                                    Larned State Hospital                                           New 8/23
                                                       Larned, Kansas
                                  PATIENT/RESIDENT REQUEST FOR SPECIAL RELIGIOUS MEAL
                                                          LSH-575


            Form must be completed by the religious leader and submitted to the Chaplain at least 90 days prior to the religious
            observance. All participants in each group will receive the same menu with the exception of those with allergies,
            texture modifications, or those on a vegetarian diet.

            Religious Affiliation: _ _ _ _ _ _ _ _ _ _ _ _ Date of Observance: _ _ _ _ _ _ _ _ __

            Participant Names:




        Reauested Meal Items:
        Main Entree - Choose 1                      Bread Item - Choose 1                Starch - Choose 1
        D Taco Meat                                 D Flour Tortilla                     D Refried Beans
        D Hamburger Patty                           D Fry Bread                          D Tater Tots
        D Hot Dog                                   D Hot Dog Bun                        D Potato Chips
        D Personal Pizza                            D Hamburger Bun                      D Baked Beans w/Pork
           D Cheese D Pepperoni                     D Bag of Doritos                     D Vegetarian Baked Beans
        D Vegan Bratwurst                           D Flat Bread                         D Corn Chowder
        D Unbreaded Fish
        D Potato Crusted Cod
        Side Salad - Choose 1                       Dressing - Choose 1                  Beverage - Choose 1
        D Shredded Lettuce                          D Ranch                              D Gatorade
        D Lettuce Salad                             D French                             D Bottled Water
        D Potato Salad                              D Italian                            D Bottled Water w/Lemonade
        D Carrot & Celery Sticks                    D Thousand Island                    Packet
                                                                                         D Bottled Water w/Raspberry
                                                                                         Packet
                                                                                         D Sanka Packet
                                                                                           D Creamer D Sugar
        Sides - Choose 3 (only 1 cheese)            Condiments - Choose 2                Dessert - Choose 1
        D Diced Onions                              D Ketchup                            D Chocolate Ice Cream
        D Shredded Cheese                           D Mustard                            D Vanilla Ice Cream
        D Sliced Cheese                             D Taco Sauce                         D Ice Cream Sandwich
        D Cherry Tomatoes                           □ Mayo                               D Chocolate Chip Cookie
        □ Dill Pickle Slices                        D Tartar Sauce                       D Peanut Butter Cookie
        D Jalapenos                                                                      D Sugar Cookie
        D Sweet Pickle Relish                                                            D Mixed Fruit Cup (Vegan)


        Religious Leader Signature                                                          Date                 Time
        Original: Chief Operations Officer




Exhibit A                                       Attachment A                                             Page 1
